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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH DAKOTA
                                    SOUTHERN DIVISION


 HALLMARK INSURANCE COMPANY,
                                                                 4:22-CV-4069
               Plaintiff,

 vs.                                                             ANSWER
                                                                   TO
 GAIL HOEFERT and AARON HOEFERT,                               COMPLAINT IN
 as Personal Representatives of THE                           INTERPLEADER
 ESTATE OF ANDREW JOSEPH HOEFERT;
 GAIL HOEFERT and KERRY HOEFERT,
 as Legal Guardians of B.E.H. (minor) and
 C.T.H. (minor); KEVIN TYCZ, as Personal
 Representative of THE ESTATE OF
 JENNIFER CHRISTINE HOEFERT;
 ERIC J. LUPKES; LOGAN HEALTH, d/b/a
 LOGAN HEALTH MEDICAL CENTER;
 PARNTERS UNITED FOR LIFE SAVING
 EDUCATION, d/b/a JEFFERSON VALLEY
 EMS & RESCUE; SCL HEALTH MEDICAL
 GROUP – BUTTE, LLC; DE SMET
 INSURANCE COMPANY OF SOUTH
 DAKOTA; and FEDEX CORPORATION,

               Defendants.


         COME NOW the above-named Defendants, Gail Hoefert and Aaron Hoefert,

as Personal Representatives of The Estate of Andrew Joseph Hoefert; Gail Hoefert and

Kerry Hoefert, as Legal Guardians of B.E.H. (minor) and C.T.H. (minor); and Kevin Tycz,

as Personal Representative of The Estate of Jennifer Christine Hoefert (hereinafter

referred to as “these Defendants”), and for their Answers to the Complaint of Plaintiff

Hallmark Insurance Company, state and allege as follows:

                                               1.

         Defendants admit the Court has jurisdiction over the parties and this action is

properly venued.
                                                1
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                                            2.

       That these Defendants admit that portion of the Plaintiff’s Complaint regarding the

residence of Gail Hoefert and Kerry Hoefert as Minnehaha County, South Dakota. These

Defendants assert Personal Representative Aaron Hoefert is a resident of Lake County,

South Dakota. These Defendants assert Personal Representative Kevin Tycz is a resident

of Bon Homme County, South Dakota. These Defendants lack sufficient information to

admit nor deny the residence of Eric Lupkes.

                                            3.

       That these Defendants further admit the allegations contained in Paragraphs 2, 3, 4,

5, and 6 of the Plaintiff’s Complaint.

                                            4.

       That these Defendants further admit the allegations in Paragraphs 7 and 8 as to the

disclosed face value of the policies of insurance and the potential claimants to such

insurance as plead in the Plaintiff’s Complaint.

                                            5.

       That these Defendants, upon information and belief, admit Paragraph 9 of the

Plaintiff’s Complaint.

                                            6.

       That these Defendants admit Paragraphs 10, 11, and 12 of the Plaintiff’s Complaint.

                                            7.

       That these Defendants admit Paragraphs 14, 15, 16, and 17 of the Plaintiff’s Complaint.

                                            8.

       That these Defendants are without sufficient information at this time to admit or

deny Paragraph 18 of the Plaintiff’s Complaint.

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                                             9.

       That these Defendants, upon information and belief, admit Paragraph 19 of the

Plaintiff’s Complaint.

                                            10.

       That, in regard to this Interpleader action, these Defendants admit Paragraphs 20,

21, 22, 23, 24, 25, 26, 27, 28, 29, and 30 of the Plaintiff’s Complaint.

                                             11.

       That these Defendants admit Eric Lupkes is the natural father of Abbigail Vitek, but

would deny Eric Lupkes has initiated any court proceeding or has asserted a claim for the

wrongful death of Abbigail Vitek to these Defendants.

                                             12.

       That these Defendants admit Paragraphs 32 and 33 of the Plaintiff’s Complaint and

assert such claims will have or will be initiated to recover the insurance coverage

of the Hallmark policy.

                                             13.

       That these Defendants assert at the current time it has been determined by the legal

guardians of B.E.H. or C.T.H. to assert no claim for the bodily injuries incurred

by B.E.H. or C.T.H. as a result of the collision referenced in Paragraph 21.

                                             14.

       That these Defendants admit Paragraphs 35, 36, 37, 38, and 39.

                                             15.

       That these Defendants admit the Plaintiff is entitled to bring this action for

Interpleader but can neither admit nor deny this Plaintiff will be the subject of double

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or multiple liability in light of its commencement of this Interpleader action, deposit

of insurance proceeds, and/or admission of liability.

                                              16.

       That these Defendants specifically deny the Plaintiff is entitled to attorney fees

being assessed against this Defendant or the Estates of Andrew Hoefert, Jennifer Hoefert,

or the Guardianship of B.E.H. and C.T.H.

       WHEREFORE, these Defendants respectfully request:

                                              1.

       That the Court entertain this Interpleader action.

                                              2.

       That these Defendants deny an injunction is a proper or appropriate remedy in this

action as the deposit of funds and the commencement of this Interpleader properly

protects the Plaintiff from multiple claim on the insurance proceeds.

       Respectfully submitted this 28th day of June, 2022.




                                                 /s/ Dennis Duncan
                                          Dennis Duncan
                                          THE DUNCAN LAW FIRM, LLP
                                          515 West Landscape Place, Suite 101
                                          Sioux Falls, SD 57108
                                          605-361-9840
                                          dlduncan@ddlawsd.com
                                          Attorney for Gail Hoefert and Aaron Hoefert,
                                          as Personal Representatives of The Estate of
                                          Andrew Joseph Hoefert; Gail Hoefert and Kerry
                                          Hoefert, as Legal Guardians of B.E.H. (minor)
                                          and C.T.H. (minor); Kevin Tycz, as Personal
                                          Representative of The Estate of Jennifer
                                          Christine Hoefert



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certified that a true and correct copy of the foregoing
Answer to Complaint in Interpleader was filed with this Court and served upon the
following:


Hallmark Insurance
c/o Jeff W. Wright
Heidman Law Firm, PLLC
1128 Historic Fourth Street
PO Box 3086
Sioux City, IA 51102

Eric Lupkes
306 West 6th Street, Apt. 177
Hartford, SD 57033-2125

Logan Health d/b/a Logan Health Medical Center
William Gibson (Registered Agent)
310 Sunnyview Lane
Kalispell, MT 59901

Partners United for Life Saving Education
d/b/a Jefferson Valley EMS & Rescue
Denise Bausch (Registered Agent)
137 Bench Road
Whitehall, MT 59759

SCL Health Medical Group – Butte, LLC
Incorp Services, Inc. (Registered Agent)
302 North Last Chance Gulch#409
Helena, MT 59601

DeSmet Insurance Company of South Dakota
Division of Insurance (Agent for Service)
124 South Euclid Avenue, 2nd Floor
Pierre, SD 57501

FedEx Corporation
CT Corporation System (Registered Agent)
300 Montvue Road
Knoxville, TN 37919-5546

      Dated this 28th day of June, 2022.

                                                 /s/ Dennis Duncan
                                           Dennis Duncan
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